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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

 UNITED STATES OF AMERICA
                                            No. 18 CR 478
              v.
                                            Judge Edmond E. Chang
 QUAN SHUN CHEN


              PROTECTIVE ORDER GOVERNING DISCOVERY

      Upon the unopposed motion of the government, pursuant to Fed. R. Crim. P.

16(d) and 18 U.S.C. § 3771(a)(1) and (8), it is hereby ORDERED:

      1.     Materials provided by the United States in preparation for, or in

connection with, any stage of the proceedings in this case (collectively, “the

materials”) which contain any reference to any other taxpayer are subject to this

protective order and may be used by defendant and defendant’s counsel (defined as

counsel of record in this case) solely in connection with the defense of this case, and

for no other purpose, and in connection with no other proceeding, without further

order of this Court.

      2.     Defendant and defendant’s counsel shall not disclose the protected

materials or their contents directly or indirectly to any person or entity other than

persons employed to assist in the defense, persons who are interviewed as potential

witnesses, counsel for potential witnesses, and other persons to whom the Court may

authorize disclosure (collectively, “authorized persons”). Potential witnesses and

their counsel may be shown copies of the materials as necessary to prepare the

defense, but may not retain copies without prior permission of the Court.
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      3.     No materials referring to other taxpayers may be disclosed to any

persons other than defendant, counsel for defendant, persons employed to assist the

defense, or the person to whom the sensitive information solely and directly pertains,

without prior notice to the government and authorization from the Court. Absent

prior permission from the Court, such sensitive information shall not be included in

any public filing with the Court, and instead shall be submitted under seal (except if

the defendant chooses to include in a public document sensitive information relating

solely and directly to the defendant).

      4.     Defendant, defendant’s counsel, and authorized persons shall not copy

or reproduce the protected materials except in order to provide copies of the materials

for use in connection with this case by defendant, defendant’s counsel, and authorized

persons. Such copies and reproductions shall be treated in the same manner as the

original materials.

      5.     Defendant, defendant’s counsel, and authorized persons shall not

disclose any notes or records of any kind that they make in relation to the contents of

the protected materials, other than to authorized persons, and all such notes or

records are to be treated in the same manner as the original materials.

      6.     Before providing protected materials to an authorized person, defense

counsel must provide the authorized person with a copy of this Order.




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      7.     Upon conclusion of all stages of this case, all of the protected materials

and all copies made thereof shall be disposed of in one of three ways, unless otherwise

ordered by the Court. The materials may be (1) destroyed; (2) returned to the United

States; or (3) retained in defense counsel's case file. The Court may require a

certification as to the disposition of any such materials. In the event that defense

counsel retains the materials, the restrictions of this Order continue in effect for as

long as the materials are so maintained, and the materials may not be disseminated

or used in connection with any other matter without further order of the Court.

      8.     To the extent any material is produced by the United States to

defendant or defendant’s counsel by mistake, the United States shall have the right

to request the return of the material and shall do so in writing. Within five days of

the receipt of such a request, defendant and/or defendant’s counsel shall return all

such material if in hard copy, and in the case of electronic materials, shall certify in

writing that all copies of the specified material have been deleted from any location

in which the material was stored.

      9.     The restrictions set forth in this Order do not apply to documents that

are or become part of the public court record, including documents that have been

received in evidence at other trials, nor do the restrictions in this Order limit defense

counsel in the use of discovery materials in judicial proceedings in this case, except

that any document filed by any party which attaches or otherwise discloses specially

identified sensitive information as described in Paragraph 3, above, shall be filed


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under seal to the extent necessary to protect such information, absent prior

permission from this Court.

      10.    Nothing contained in this Order shall preclude any party from applying

to this Court for further relief or for modification of any provision hereof.

                                         ENTER:


                                         HON. EDMOND E. CHANG
                                         United States District Court
                                         Northern District of Illinois

Date: September 17, 2018




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